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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,          )
                                )
           Plaintiffs,          )
                                )              CIVIL ACTION
 vs.                            )
                                )              FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,             )
ET AL.,                         )
                                )
           Defendants.          )
_______________________________ )


          RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

       Pursuant to Local Rule 5.4 and pursuant to the Court’s Amended

 Scheduling Order (Doc. 1093), I hereby certify that on August 2, 2021, Coalition

 Plaintiffs’ Rebuttal Expert Disclosures – Reports (Eighth Declaration of Philip B.

 Stark and Appendix thereto) were on all counsel of record by electronic delivery

 of a PDF version of same.

      I further certify that a copy of the foregoing Rule 5.4 Certificate of Service of

Discovery was electronically filed with the Clerk of Court using the CM/ECF system

which will automatically send notification of such filing to all attorneys of record.

      This 2nd day of August, 2021.
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of LR 5.1, using font type of Times New

Roman and a point size of 14.

                                            /s/ Cary Ichter
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